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 1 COUGHLIN STOIA GELLER
     RUDMAN & ROBBINS LLP
 2 JOHN J. STOIA, JR. (141757)
   BONNY E. SWEENEY (176174)
 3 THOMAS R. MERRICK (177987)
   655 West Broadway, Suite 1900
 4 San Diego, CA 92101
   Telephone: 619/231-1058
 5 619/231-7423 (fax)
   johns@csgrr.com
 6 bonnys@csgrr.com
   tmerrick@csgrr.com
 7
   THE KATRIEL LAW FIRM
 8 ROY A. KATRIEL (pro hac vice)
   1101 30th Street, N.W., Suite 500
 9 Washington, DC 20007
   Telephone: 202/625-4342
10 202/330-5593 (fax)
   rak@katriellaw.com
11
   Co-Lead Counsel for Plaintiffs
12

13                             UNITED STATES DISTRICT COURT

14                         NORTHERN DISTRICT OF CALIFORNIA

15                                     SAN JOSE DIVISION

16 THE APPLE IPOD ITUNES ANTI-TRUST            )   Lead Case No. C-05-00037-JW(RS)
   LITIGATION                                  )
17                                             )   CLASS ACTION
                                               )
18 This Document Relates To:                   )   DECLARATION OF THOMAS R.
                                               )   MERRICK IN SUPPORT OF PLAINTIFFS’
19         ALL ACTIONS.                        )   MEMORANDUM IN OPPOSITION TO
                                               )   DEFENDANT’S MOTION FOR
20                                                 DECERTIFICATION OF RULE 23(b)(3)
                                                   CLASS
21
                                                   Judge:       Hon. James Ware
22                                                 Date:        November 23, 2009
                                                   Time:        9:00 a.m.
23                                                 CTRM:        8-4th Floor

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 1            I, THOMAS R. MERRICK, hereby declare as follows:

 2            1.       I am an attorney duly licensed to practice before all of the courts of the State of

 3 California and am associated with the law firm of Coughlin Stoia Geller Rudman & Robbins LLP. I

 4 have personal knowledge of the matters stated herein, and, if called upon, I could and would

 5 competently testify thereto.

 6            2.       I am Co-Lead Counsel on behalf of plaintiffs Melanie Tucker, Mariana Rosen, and

 7 Somtai Troy Charoensak in the above-captioned action.

 8            3.       I submit this declaration in support of Plaintiffs’ Memorandum in Opposition to

 9 Defendant’s Motion for Decertification of Rule 23(b)(3) Class.

10            4.       Attached hereto are true and correct copies of the following documents:

11            Exhibit 1:         Relevant excerpts from the deposition transcript of Roger G. Noll, taken
                                 September 19, 2008;
12
              Exhibit 2:         Relevant excerpts from the deposition transcript of Michelle M. Burtis,
13                               Ph.D., taken September 30, 2009;

14            Exhibit 3:         David L. Rubinfeld, Quantitative Methods in Antitrust, 1 Issues in
                                 Competition Law & Policy 723 (ABA Section of Antitrust Law) (2008); and
15
              Exhibit 4:         Relevant excerpts from the transcript of proceeding regarding plaintiffs’
16                               Motion for Class Certification, held December 16, 2008.

17            I declare under penalty of perjury under the laws of the United States of America that the

18 foregoing is true and correct. Executed this 19th day of October, 2009, at San Diego, California.
19

20                                                                   s/ Thomas R. Merrick
                                                                    THOMAS R. MERRICK
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28
     DEC OF THOMAS R. MERRICK ISO PLTFS’ MEMORANDUM IN OPPOSITION TO DEF’S
     MOTION FOR DECERTIFICATION OF RULE 23(b)(3) CLASS - C-05-00037-JW(RS)                           -1-
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 1                                   CERTIFICATE OF SERVICE

 2         I hereby certify that on October 19, 2009, I electronically filed the foregoing with the Clerk

 3 of the Court using the CM/ECF system which will send notification of such filing to the e-mail

 4 addresses denoted on the attached Electronic Mail Notice List, and I hereby certify that I have

 5 mailed the foregoing document or paper via the United States Postal Service to the non-CM/ECF

 6 participants indicated on the attached Manual Notice List.

 7         I certify under penalty of perjury under the laws of the United States of America that the

 8 foregoing is true and correct. Executed on October 19, 2009.

 9
                                                       s/ Thomas R. Merrick
10                                                     THOMAS R. MERRICK
11                                                     COUGHLIN STOIA GELLER
                                                              RUDMAN & ROBBINS LLP
12                                                     655 West Broadway, Suite 1900
                                                       San Diego, CA 92101-3301
13
                                                       Telephone: 619/231-1058
14                                                     619/231-7423 (fax)

15                                                     E-mail: tmerrick@csgrr.com
16

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Electronic Mail Notice List

The following are those who are currently on the list to receive e-mail notices for this case.

      Francis Joseph Balint , Jr
       fbalint@bffb.com

      Michael D Braun
       service@braunlawgroup.com

      Michael D. Braun
       service@braunlawgroup.com

      Andrew S. Friedman
       rcreech@bffb.com,afriedman@bffb.com

      Alreen Haeggquist
       alreenh@zhlaw.com,judyj@zhlaw.com

      Roy A. Katriel
       rak@katriellaw.com,rk618@aol.com

      Thomas J. Kennedy
       tkennedy@murrayfrank.com

      David Craig Kiernan
       dkiernan@jonesday.com,lwong@jonesday.com,valdajani@jonesday.com

      Thomas Robert Merrick
       tmerrick@csgrr.com

      Caroline Nason Mitchell
       cnmitchell@jonesday.com,mlandsborough@jonesday.com,ewallace@jonesday.com

      Robert Allan Mittelstaedt
       ramittelstaedt@jonesday.com,ybennett@jonesday.com

      Brian P Murray
       bmurray@murrayfrank.com

      Elaine A. Ryan
       eryan@bffb.com,pjohnson@bffb.com

      Jacqueline Sailer
       jsailer@murrayfrank.com

      Adam Richard Sand , Esq




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       invalidaddress@invalidaddress.com

      Michael Tedder Scott
       michaelscott@jonesday.com,gwayte@jonesday.com

      Craig Ellsworth Stewart
       cestewart@jonesday.com,mlandsborough@jonesday.com

      John J. Stoia , Jr
       jstoia@csgrr.com

      Tracy Strong
       invalidaddress@invalidaddress.com

      Bonny E. Sweeney
       bonnys@csgrr.com,proach@csgrr.com,E_file_sd@csgrr.com,christinas@csgrr.com

      Helen I. Zeldes
       helenz@zhlaw.com

Manual Notice List

The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who
therefore require manual noticing). You may wish to use your mouse to select and copy this list into
your word processing program in order to create notices or labels for these recipients.

Todd David Carpenter
Bonnett, Fairbourn, Friedman, & Balint
2901 N. Central Avenue
Suite 1000
Phoenix, AZ 85012




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